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                           Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                                          18-md-02865-LAK

CUSTOMS AND TAX ADMINISTRATION OF                              Request for International Judicial
THE KINGDOM OF DENMARK                                         Assistance pursuant to the Hague
(SKATTEFORVALTNINGEN) TAX REFUND                               Convention of 18 March 1970 on
SCHEME LITIGATION                                              the Taking of Evidence Abroad in
                                                               Civil or Commercial Matters
This document relates to: All Cases.


          The United States District Court for the Southern District of New York presents its

compliments to the appropriate judicial authority of the Kingdom of Denmark, and requests

international judicial assistance to obtain evidence to be used in a civil proceeding before this

court in the above captioned matter. This request is made pursuant to and in conformity with the

Hague Convention of 18 March 1970 on the Taking of Evidence Abroad in Civil or Commercial

Matters.

          This Court requests the assistance described herein as necessary in the interests of

justice. The assistance requested is for the appropriate judicial authority of Denmark to compel

the below-named individual to provide testimony.

          This Court considers that the evidence sought is directly relevant to issues of fact and law

that may influence the final determination of the existence, non-existence, and/or extent of any

liability in this matter. This request is made with the understanding that it will in no way require

any person to commit any offense, or to undergo a broader form of inquiry than they would if the

litigation were conducted in the Kingdom of Denmark. It is expected, based on existing

timetables, that the United States District Court for the Southern District of New York may

schedule trial in or around 2021. Potential summary judgment motions would be due before




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trial. In the United States, parties may move for summary judgment. A party moving for or

opposing summary judgment must present evidence to support its arguments, as they do at trial.

The following request is made in support of the pending proceedings in New York.

              The particulars of this Hague Evidence Request are as follows:

 1. Sender                         The Honorable Lewis A. Kaplan
                                   District Judge
                                   United States District Court for the Southern District of
                                   New York

 2. Central Authority of the       Ministry of Justice
 Requested State                   Procedural Law Division
                                   Slotsholmsgade 10
                                   1216 COPENHAGEN K
                                   Denmark

 3. Person to whom the             Sharon L. McCarthy
 executed request is to be         Kostelanetz & Fink, LLP
 returned                          7 World Trade Center, 34th Floor
                                   New York, NY 10007
                                   Tel.: (212) 808-8100
                                   Fax: (212) 808-8108
                                   Email: smccarthy@kflaw.com

4. Specification of the day by which the requesting authority requires receipt of the
response to the Letter of Request

 Date                                 April 30, 2021


 Reason for Urgency, if applicable    Discovery is underway in this matter and trial may be
                                      scheduled to occur in 2021.




IN CONFORMITY WITH ARTICLE 3 OF THE CONVENTION, THE UNDERSIGNED
APPLICANT HAS THE HONOR TO SUBMIT THE FOLLOWING REQUEST:

 5a. Requesting judicial           The Honorable Lewis A. Kaplan
 authority (Article 3,a)           District Judge



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                                   United States District Court for the Southern District of
                                   New York

 5b. To the competent              The Kingdom of Denmark
 authority of (Article 3,a)

 5c. Names of the case and any     In re Customs and Tax Administration of the Kingdom of
 identifying number                Denmark (SKAT) Tax Refund Scheme Litigation, 18-md-
                                   2865 (LAK)

6. Names and addresses of the parties and their representatives

 a. Plaintiff                                       SKAT
                                                    Østbanegade 123
                                                    2200 København Ø
                                                    Denmark

 Representatives                                    William R. Maguire
                                                    Marc A. Weinstein
                                                    Neil J. Oxford
                                                    Hughes Hubbard & Reed LLP
                                                    One Battery Park Plaza
                                                    New York, New York 10004-1482
                                                    United States of America

 b. Defendants                                      Please refer to the attached Appendix A

 Representatives                                    Please refer to the attached Appendix A


7. Nature of the Proceedings

       a. Background

       In May and June 2018, Plaintiff SKAT filed 140 similar complaints in eleven different

federal judicial districts. On October 3, 2018, the federal complaints were consolidated

in this Multi-District Litigation (“MDL”) and assigned to the Honorable Lewis A. Kaplan. Since

that time, SKAT filed several additional complaints which are consolidated into the MDL.

SKAT filed amended complaints on April 20, 2020, against the particular Defendants seeking

the evidence described below. Defendants answered the amended complaints on June 29, 2020.




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       Defendants are pension, profit sharing, or stock bonus plans qualified under section

401(a) of the United States Internal Revenue Code, exempt from taxation under section 501(a) of

the United States Internal Revenue Code, and residents of the United States of America for

purposes of U.S. taxation. Defendants applied for and received dividend tax reclaims from

Plaintiff SKAT related to Defendants’ ownership of shares in Danish companies listed on the

OMX Copenhagen 20 Index, the 20 most-traded stocks in Denmark. Danish companies are

required to withhold 27% tax on dividends they pay to shareholders. Under certain double

taxation treaties between Denmark and other countries, including the United States, this tax is

reimbursable to certain non-Danish shareholders, including pension, profit sharing, and stock

bonus plans qualified under section 401(a) of the Internal Revenue Code. Defendants, acting

through their agents and representatives, applied to SKAT claiming repayments of tax withheld

on dividends that they earned on shares of Danish companies that they held. SKAT claims that

Defendants did not own the shares forming the basis of those tax reclaim applications. SKAT

alleges that it paid baseless withholding tax refund claims.

       The witness whose testimony is sought pursuant to this Letter of Request is a former

SKAT employee named Dorthe Pannerup Madsen.

       b. Summary of Complaints

       The allegations in Plaintiff SKAT’s complaints in the consolidated actions are

substantially similar. SKAT brought complaints against three classes of defendants: “Plan

Defendants,” the pension plans that SKAT claims received baseless dividend withholding tax

refunds; “Authorized Representative Defendants,” individuals who signed powers of attorney

authorizing Payment Agents to submit dividend withholding tax refund claims to SKAT; and

“Incorporator Defendants,” defendants who incorporated business entities associated with the




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Plan Defendants that submitted dividend withholding tax refund claims to SKAT. The conduct

at the heart of Plaintiff SKAT’s complaints is alleged to have occurred between 2012 and 2015.

Plaintiff asserts claims for fraud, aiding and abetting fraud, payment by mistake, unjust

enrichment, negligent misrepresentation, and related claims.

       c. Summary of Defenses

       Defendants deny all allegations of wrongdoing made by SKAT. Defendants assert

numerous defenses to SKAT’s allegations. Defendants maintain that they acted at all times

reasonably and with due care, reasonably relied upon the actions and statements of others, and

did not directly or indirectly cause, induce, aid, or abet any acts constituting the claims asserted

by SKAT. Defendants assert that they did not engage in any unlawful conduct and are not liable

for any unlawful acts that may have been committed by others. Furthermore, Defendants

contend that if SKAT suffered any loss, damage, or injury, such alleged loss, damage, or injury

was caused in whole or in part by SKAT’s own negligence, SKAT’s assumption of risk, and/or

other culpable parties and/or third parties to this action, other than Defendants, for whose acts or

omissions or breaches of legal duty Defendants are not liable. Finally, Defendants allege that

SKAT’s claims are barred by the applicable statutes of limitations.

       d. Other Necessary Information or Documents

 8a. Evidence to be obtained or         Defendants seek testimony from Dorthe Pannerup
 other judicial act to be               Madsen
 performed (Article 3,d)

 8b. Purpose of the evidence or         The witness’s testimony is relevant to establishing one or
 other judicial act sought              more of Defendants’ defenses in this action.


 9. Identity and address of any         Dorthe Pannerup Madsen is a former SKAT employee
 person to be examined (Article         who, from 2013 – 2015, served as the head of SKAT’s
 3,e)



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                                        dividend tax office, responsible for issuing the dividend
                                        tax refunds at issue in this action.

                                        A current address for Dorthe Pannerup Madsen could not
                                        be located.

10. Questions to be put to the person to be examined or statement of the subject-matter
about which they are to be examined (Article 3,f)

       a. Definitions

              i.      “SKAT” – Skatteforvaltningen and any officers, directors, managers,

                      employees, or agents thereof.

              ii.     “The Office” – the operating unit within SKAT responsible for dividend

                      taxes, including the receipt dividend reclaim application, the processing of

                      said reclaim applications, and the issuing of dividend tax refunds.

              iii.    “Tenure” – the period of time, from approximately 2013 – 2015, during

                      which time Dorthe Pannerup Madsen was in charge of the Office.

              iv.     “Minister” – Minister of Taxation for Denmark.

              v.      “Risk” – any likelihood that SKAT issued an Erroneous Refund of

                      dividend taxes.

              vi.     “Erroneous Refund” – a refund of dividend tax issued to an applicant not

                      eligible to receive such refund.

              vii.    “Control” – any policy, procedure, directive, or other rule that would have

                      increased the information reported to SKAT, provided SKAT with greater

                      ability to assess the validity of any individual dividend tax reclaim

                      application, or decreased Risk.

              viii.   “Reclaim Agent” – any of Goal Group, Syntax GIS, or Acupay, which

                      firms submitted dividend reclaim applications on behalf of



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  b. Subject of Testimony

        The subject of Dorthe Pannerup Madsen’s testimony will be:

        i.      The identities and responsibilities of all Office employees during her

                Tenure;

        ii.     The broader organizational structure within SKAT, including the

                management chain of command;

        iii.    Her knowledge that SKAT lacked the ability to independently verify the

                ownership of stocks associated with reclaim applications;

        iv.     Her knowledge that SKAT lacked the ability to independently verify

                whether dividend taxes had in fact been withheld with respect to such

                stocks identified in a reclaim application;

        v.      Her knowledge of the schedule and process for reporting of dividend

                payment information to SKAT;

        vi.     Her knowledge that SKAT was issuing Erroneous Refunds;

        vii.    Her knowledge regarding the volume of dividend tax refunds issued by

                SKAT;

        viii.   Her knowledge regarding the volume of Erroneous Refunds issued by

                SKAT;

        ix.     Her knowledge of all other conditions contributing to Risk;

        x.      All communications with SKAT or other Ministry of Taxation officials

                concerning Risk;

        xi.     Her response to any communication, whether written or oral, identifying,

                discussing, or warning of any Risk;




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              xii.    All Controls proposed during her Tenure;

              xiii.   The extent and impact of resource constraints within SKAT, generally,

                      and the Office, specifically;

              xiv.    Correspondence with any representative of any Reclaim Agent, including

                      but not limited to Camilo Vargas, regarding the process for submitting

                      dividend reclaim applications and any advice that may have been given in

                      connection with the submission of dividend reclaim applications; and

              xv.     Authentication of documents if necessary.

11.   Documents or other property to be inspected (Article 3,g)

              Any and all contemporaneous notes, memoranda, testimony, or correspondence in

the possession, custody or control of Dorthe Pannerup Madsen related to the Subject of

Testimony.

 12. Any requirement that the        The examinations shall be taken under the Federal Rules
 evidence be given on oath or        of Civil Procedure of the United States of America, except
 affirmation and any special         to the extent such procedure is incompatible with the law
 form to be used (Article 3,h)       of the Kingdom of Denmark. The testimony shall be
                                     given under oath.

 13. Special methods or              The United States District Court for the Southern District
 procedure to be followed            of New York respectfully requests that:
 (Articles 3,i and 9)
                                     a. The Parties’ United States and Danish lawyers be
                                        permitted to attend the oral testimony and ask
                                        supplementary questions of the witness;

                                     b. The Parties’ United States and Danish lawyers be
                                        permitted to examine and cross-examine the witnesses
                                        directly;

                                     c. The Parties’ United States and Danish lawyers be
                                        allowed to participate in the oral testimony of the
                                        requested witnesses by video-conference per the
                                        enclosed ‘Optional Form For Video-Link Evidence,’
                                        as practicable and in discussion with the Ministry of




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                                       Justice regarding technical logistics and that the video-
                                       conference be recorded and a copy provided to the
                                       Parties;

                                    Oral testimony of the witnesses be videotaped and
                                    recorded verbatim, and that a professional videographer
                                    and a professional stenographer be permitted to attend the
                                    oral testimony in order to record the testimony; the costs
                                    of the court reporter or of the videographer being at the
                                    charge of defendants.
14. Request for notification of     It is requested that testimony be taken at such place, date
the time and place for the          or time as ordered by the Ministry of Justice and/or as
execution of the Request and        otherwise scheduled by the representatives of the
identity and address of any         Defendants and/or as otherwise agreed to by the witnesses
person to be notified (Article 7)   and the respective representatives of the Parties.

                                    Notice thereof should be made to Defendants’ Danish
                                    designee:

                                    Kasper Bech Pilgaard
                                    TVC Law Firm
                                    Nimbusparken 24, 2d fl., 2000 Frederiksberg,
                                    Copenhagen, Denmark


15. Request for attendance or     None.
participation of judicial
personnel of the requesting
authority at the execution of the
Letter of Request (Article 8)

16. Specification of privilege or   Under the laws of the United States, a party has a
duty to refuse to give evidence     privilege to refuse to disclose the contents of a
under the law of the State of       confidential communication between that party and an
origin (Article 11,b)               attorney that was made for the purpose of obtaining legal
                                    advice. Waiver of the privilege over some
                                    communications, in some circumstances, can be deemed a
                                    waiver of privilege over other communications
                                    concerning the same subject matter.

                                    Parties also enjoy limited privileges not relevant here,
                                    such as communications between physician and patient,
                                    psychotherapist and patient, husband and wife, or clergy
                                    and penitent.




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                                   United States law also recognizes a testimonial privilege
                                   against criminal self-incrimination. This privilege does
                                   not apply to production of documents.

                                   Outside the strict area of privilege, certain limited
                                   immunities are available that may place restrictions on the
                                   giving of evidence, such as the limited protection of
                                   documents created by attorneys in anticipation of
                                   litigation.

 17. The fees and costs incurred   Defendants
 which are reimbursable under
 the second paragraph of Article
 14 or under Article 26 of the
 Convention will be borne by


Date of Request:




                                          Signature and Seal of the Requesting Authority




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                                LETTER OF REQUEST –
                      OPTIONAL FORM FOR VIDEO-LINK EVIDENCE

                          COMMISSION ROGATOIRE –
            FORMULAIRE FACULTATIF POUR DES PREUVES PAR LIAISON VIDEO



                         Hague Convention of 18 March 1970 on the
                 Taking of Evidence Abroad in Civil or Commercial Matters
                          Convention de La Haye du 18 mars 1970 sur
             l’obtention des preuves à l’étranger en matière civile ou commerciale


    Technical Parameters of the video-link device(s)
    Paramètres techniques des appareils de liaison vidéo



    1.        Device brand         Insert name of video-link device brand to be used by the
              and model            Requesting State
              Marque et
              modèle de
              l’appareil


    2.        Type of              Please note that a multipoint control unit is
              control unit         recommended.
              Type d’unité de      Veuillez noter qu’une unité de commande multipoint est
              commande             recommandée.


                                    ☐ Endpoint                       ☐    Multipoint
                                      Point de terminaison




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    3.     Type of network      Please note that an IP network is the recommended
           Type de réseau       network.
                                Veuillez noter qu’un réseau IP est le réseau recommandé.

                                     IP (SIP or/ou H.323)             ISDN / RNIS
                                 IP address:                    ISDN number:
                                 Adresse IP :                   Numéro RNIS :
           Examples of IP and
           ISDN parameter        Insert IP address              Insert ISDN number
           sequences are
           provided on           Hostname:
           page 3.               Nom de l’hôte :

           Des exemples de       Insert hostname
           séquences de          (including fully qualified
           paramètres IP et      domain name)
           RNIS sont donnés                                     Extension number:
           en page 3             Extension number:              Numéro de poste :
                                 Numéro de poste :
                                                                Insert extension
                                 Insert extension               (if applicable)
                                 (if applicable)

                                 Additional comments:
                                 Autres remarques :

                                 Insert any relevant comments or notes here




    4.     Virtual Room         Please fill out only if a virtual meeting room will be used.
           (via Multipoint      Ne compléter que si une salle de réunion virtuelle sera
           Control Unit)        utilisée.
           Salle virtuelle
           (via une unité       Address / Hostname
           de commande          Adresse / Nom de l’hôte
           multipoint)
                                Insert address and / or hostname
                                (including fully qualified domain name)

                                PIN
                                Code d’accès

                                Insert access PIN for virtual room


    5.     Codec                Insert details of coder-decoder used.
           Codec




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     6.     Type of encryption     Insert details on type of encryption used
            Type de chiffrement    (e.g. AES, 3DES) and the bit used (e.g. 128 bits, 192 bits)

                                   Will the ‘automatic’ or ‘best effort’ setting be used?
                                   Le paramètre « automatique » ou « au mieux » sera-t-il
                                   utilisé ?

                                          ☐     Yes                ☐        No
                                                Oui                        Non




    Details of technical contact person(s)
    Coordonnées des interlocuteurs techniques

    These are contact persons in addition to those mentioned in the Letter of Request,
    specifically for technical matters (if applicable).
    Il y a des interlocuteurs techniques outre ceux qui sont mentionnés dans la Commission
    rogatoire, en particulier pour les questions techniques (le cas échéant)



     7a.       Contact Person 1                    7b.       Contact Person 2
               Interlocuteur 1                               Interlocuteur 2

                Name                                           Name
                Nom                                            Nom

                Position                                       Position
                Fonction                                       Fonction

                Email                                          Email


                Phone                                          Phone
                Téléphone                                      Téléphone


                Languages                                      Languages
                Langues                                        Langues




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      Following the completion of the Multi-aspect initiative to improve cross-border
      videoconferencing (“Handshake” Project), the Council of the European Union provided the
      following example sequences to assist users with different types of network
      connections: 1
      À la suite de la conclusion du projet « Handshake » (Multi-aspect initiative to improve cross-
      border videoconferencing), le Conseil de l’Union européenne a donné les exemples de
      séquences suivants pour aider les utilisateurs en fonction des types de connexions réseau :


  Examples of parameter sequences and delimiters for starting a videoconference
  Exemples de séquences de paramètres et de délimiteurs pour lancer une visioconférence

  Depending on the brands of the devices involved – different parameter sequences may
  need to be used.
  Dépendent de la marque des appareils – il sera peut-être nécessaire d’utiliser différentes
  séquences de paramètres.


  Using IP:
  IP :

  Hostname / IP-address followed by extension number with delimiter ## :
  111.22.33.4##5656
  Hostname / IP-address followed by extension number with delimiter # : 111.22.33.4#5656

  Nom de l’hôte/adresse IP suivi du numéro de poste avec le délimiteur ## :
  111.22.33.4##5656
  Nom de l’hôte/adresse IP suivi du numéro de poste avec le délimiteur # : 111.22.33.4#5656

  Using SIP:
  SIP :

  Extension number followed by hostname / IP-address with delimiter @ :
  5656@videoconf.host.eu
                                                               5656@111.22.33.4

  Numéro de poste suivi du nom de l’hôte/de l’adresse IP avec le délimiteur @ :
  5656@videoconf.host.eu
                                                                     5656@111.22.33.4

  ISDN sequences:
  Séquences RNIS :

  ISDN number and extension number together: + 43 1 0000895656
  ISDN number and extension number separated by a delimiter # : + 43 1 000089#5656

  Numéro RNIS et numéro de poste ensemble : + 43 1 0000895656
  Numéro RNIS et numéro de poste séparés par un délimiteur # : + 43 1 000089#5656




  1
           ”Handshake” Project, “D4: Form for requesting / confirming a cross-border videoconference”, p. 20.




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                                     APPENDIX A
        Defendants                        Counsel                  Associated Case(s)
John van Merkensteijn, III   Sharon L. McCarthy                 19-cv-01866
                             Caroline Ciraolo                   19-cv-01865
                             Nicholas S. Bahnsen                19-cv-01906
                             Kostelanetz & Fink LLP             19-cv-01894
                             7 World Trade Center, 34th Floor   19-cv-01911
                             New York, New York 10007           19-cv-01871
                             Tel: (212) 808-8100                19-cv-01930
                             Fax: (212) 808-8108                19-cv-01873
                             cciraolo@kflaw.com                 19-cv-01794
                             smccarthy@kflaw.com                19-cv-01798
                             nbahnsen@kflaw.com                 19-cv-01788
                                                                19-cv-01918
                                                                19-cv-01928
                                                                19-cv-01931
                                                                19-cv-01800
                                                                19-cv-01803
                                                                19-cv-01809
                                                                19-cv-01818
                                                                19-cv-01801
                                                                19-cv-01810
                                                                19-cv-01813

Elizabeth van Merkensteijn                                      19-cv-01893

Azalea Pension Plan                                             19-cv-01893

Basalt Ventures LLC Roth                                        19-cv-01866
401(K) Plan

Bernina Pension Plan                                            19-cv-01865

Bernina Pension Plan Trust                                      19-cv-10713

Michelle Investments                                            19-cv-01906
Pension Plan

Omineca Pension Plan                                            19-cv-01894

Omineca Trust                                                   19-cv-01794
                                                                19-cv-01798
                                                                19-cv-01788
                                                                19-cv-01918
                                                                19-cv-01928
                                                                19-cv-01931



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                                                                19-cv-01800
                                                                19-cv-01803
                                                                19-cv-01809
                                                                19-cv-01818
                                                                19-cv-01801
                                                                19-cv-01810
                                                                19-cv-01813

Remece Investments LLC                                          19-cv-01911
Pension Plan

Starfish Capital                                                19-cv-01871
Management LLC Roth
401(K) Plan

Tarvos Pension Plan                                             19-cv-01930

Voojo Productions LLC                                           19-cv-01873
Roth 401(K) Plan

Xiphias LLC Pension Plan                                        19-cv-01924

Richard Markowitz              Alan E. Schoenfield              19-cv-01867
                               Wilmer Cutler Pickering Hale     19-cv-01895
                               and Dorr LLP                     19-cv-01869
                               7 World Trade Center             19-cv-01868
                               250 Greenwich Street             19-cv-01898
                               New York, NY 10007               19-cv-10713
                               Telephone: (212) 230-8800        19-cv-01896
                               alan.schoenfeld@wilmerhale.com   19-cv-01783
                                                                19-cv-01922
                                                                19-cv-01926
                                                                19-cv-01929
                                                                19-cv-01812
                                                                19-cv-01870
                                                                19-cv-01792
                                                                19-cv-01806
                                                                19-cv-01808
                                                                19-cv-01815

Jocelyn Markowitz                                               19-cv-01904

Avanix Management LLC                                           19-cv-01867
Roth 401(K) Plan

Batavia Capital Pension Plan                                    19-cv-01895




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Calypso Investments                                           19-cv-01904
Pension Plan

Cavus Systems LLC Roth                                        19-cv-01869
401(K) Plan

Hadron Industries LLC Roth                                    19-cv-01868
401(K) Plan

RJM Capital Pension Plan                                      19-cv-01898

RJM Capital Pension Plan                                      19-cv-10713
Trust

Routt Capital Pension Plan                                    19-cv-01896

Routt Capital Trust                                           19-cv-01783
                                                              19-cv-01922
                                                              19-cv-01926
                                                              19-cv-01929
                                                              19-cv-01812
                                                              19-cv-01870
                                                              19-cv-01792
                                                              19-cv-01806
                                                              19-cv-01808
                                                              19-cv-01815

Rob Klugman                  Mark D. Allison                  18-cv-07828
                             Caplin & Drysdale, Chartered     18-cv-07827
                             600 Lexington Avenue             18-cv-07824
                             21st Floor                       18-cv-07829
                             New York, NY 10022               18-cv-04434
                             Tel: (212) 379-6000
RAK Investment Trust         mallison@capdale.com
                             zziering@capdale.com
Aerovane Logistics LLC                                        18-cv-07828
Roth 401(K) Plan

Edgepoint Capital LLC Roth                                    18-cv-07827
401(K) Plan

Headsail Manufacturing                                        18-cv-07824
LLC Roth 401(K) Plan

The Random Holdings                                           18-cv-07829
401(K) Plan




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The Stor Capital Consulting                                   18-cv-04434
LLC 401(K) Plan

Joseph Herman                 Michelle A. Rice                1:19-cv-01785
                              Kaplan Rice LLP                 1:19-cv-01781
                              142 West 57th Street            1:19-cv-01791
                              Suite 4A                        1:19-cv-01794
David Zelman                  New York N.Y. 10019             1:19-cv-01918
                              (212) 333-0227                  1:19-cv-01783
                              mrice@kaplanrice.com            1:19-cv-01798
                                                              1:19-cv-01788

Edwin Miller                                                  1:19-cv-01926
                                                              1:19-cv-01922
                                                              1:19-cv-01928
                                                              1:19-cv-01929
                                                              1:19-cv-01931

Ronald Altbach                                                1:19-cv-01809
                                                              1:19-cv-01800
                                                              1:19-cv-01803
                                                              1:19-cv-01812
                                                              1:19-cv-01818

Perry Lerner                                                  1:19-cv-01806
                                                              1:19-cv-01870
                                                              1:19-cv-01792
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Robin Jones                                                   1:19-cv-01801
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Ballast Ventures LLC Roth                                     1:19-cv-01781
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Bareroot Capital                                              1:19-cv-01783
Investments LLC Roth
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Albedo Management LLC                                         1:19-cv-01785
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Dicot Technologies LLC                                        1:19-cv-01788
Roth 401(K) Plan




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Fairlie Investments LLC                                 1:19-cv-01791
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First Ascent Worldwide                                  1:19-cv-01792
LLC Roth 401(K) Plan

Battu Holdings LLC Roth                                 1:19-cv-01794
401(K) Plan

Cantata Industries LLC Roth                             1:19-cv-01798
401(K) Plan

Crucible Ventures LLC Roth                              1:19-cv-01800
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Monomer Industries LLC                                  1:19-cv-01801
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Loggerhead Services LLC                                 1:19-cv-01806
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Plumrose Industries LLC                                 1:19-cv-01809
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Pinax Holdings LLC Roth                                 1:19-cv-01810
401(K) Plan

Roadcraft Technologies                                  1:19-cv-01812
LLC Roth 401(K) Plan

Sternway Logistics LLC                                  1:19-cv-01813
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Cedar Hill Capital                                           1:19-cv-01922
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Green Scale Management                                       1:19-cv-01926
LLC Roth 401(K) Plan

Fulcrum Productions LLC                                      1:19-cv-01928
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Keystone Technologies LLC                                    1:19-cv-01929
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Tumba Systems LLC Roth                                       1:19-cv-01931
401(K) Plan

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Acer Investment Group LLC John C. Blessington               18-cv-09841
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American Investment Group                                   18-cv-09841
of New York, L.P. Pension
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DW Construction, Inc.                                       18-cv-09797
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Kamco LP Profit Sharing                                      18-cv-09837
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Linden Associates Defined                                    18-cv-09838
Benefit Plan

Moira Associates LLC 401K                                    18-cv-09839
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Newsong Fellowship                                           18-cv-10100
Church 401K Plan

Riverside Associates                                         18-cv-09840
Defined Benefit Plan

Robert Crema                                                 18-cv-09841

Stacey Kaminer                                               18-cv-09841
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Alexander Jamie Mitchell III                                 18-cv-10100

David Schulman                                               18-cv-09840

Joan Schulman                                                18-cv-09838

Darren Wittwer                                               18-cv-09797

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